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                        UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF VIRGINIA
                             HARRISONBURG DIVISION

 In Re:                                          Case No. 16-50648

 Francis Joseph Berenty
  aka Jerry Berenty
                                                 Chapter 13
  aka Francis Berenty, Jr.
 Lorraine A Berenty

 Debtors.                                        Judge Rebecca B. Connelly

                    NOTICE OF CREDITOR CHANGE OF ADDRESS

Home Point Financial Corporation (“Creditor”), by and through their undersigned agent, hereby
gives notice of a Change of Address on the below filed Claim, effective immediately.

 Claim Number                        14-1
 Last 4 Digits of Account Number:    6272
 Current Address for Notices:               NEW Address for Notices (Effective Immediately):
  Cenlar FSB                                 Home Point Financial Corporation
  Attn: BK Department                        11511 Luna Road, Suite 300
  425 Phillips Boulevard                     Farmers Branch, TX 75234
  Ewing, NJ 08618
 Phone:                                     Phone:
 Email:                                     Email:
 Current Address for Payments:              NEW Address for Payments (Effective Immediately):
  Cenlar FSB                                 Home Point Financial Corporation
  Attn: Cashiering Department                PO Box 790309
  425 Phillips Boulevard                     St. Louis, MO 63179
  Ewing, NJ 08618
 Phone:                                     Phone:
 Email:                                     Email:
                                                 Respectfully Submitted
                                                 /s/ D. Anthony Sottile
                                                 D. Anthony Sottile
                                                 Authorized Agent for Creditor
                                                 Sottile & Barile, LLC
                                                 394 Wards Corner Road, Suite 180
                                                 Loveland, OH 45140
                                                 Phone: 513.444.4100
                                                 Email: bankruptcy@sottileandbarile.com
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                                CERTIFICATE OF SERVICE


I certify that on September 10, 2018, a copy of the foregoing Notice of Creditor Address Change
was filed electronically. Notice of this filing will be sent to the following party/parties through
the Court’s ECF System. Party/Parties may access this filing through the Court’s system:

       Shannon T Morgan, Debtors’ Counsel
       smorgan@tgblaw.com

       Herbert L Beskin, Chapter 13 Trustee
       hbeskin@cvillech13.net

       Office of the United States Trustee
       ustpregion04.rn.ecf@usdoj.gov

I further certify that on September 10, 2018, a copy of the foregoing Notice of Creditor Address
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

       Francis Joseph Berenty, Debtor
       109 Villa View Drive
       Staunton, VA 24401

       Lorraine A Berenty, Debtor
       109 Villa View Drive
       Staunton, VA 24401

                                                  /s/ D. Anthony Sottile
                                                  D. Anthony Sottile
                                                  Authorized Agent for Creditor
                                                  Sottile & Barile, LLC
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
